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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 SAMUEL WILSON,
          Plaintiff,
                                                              Case No. 22 C 04413
 v.
                                                              Hon. LaShonda A. Hunt
 KEVIN SMITH,
             Defendant.

                             MEMORANDUM OPINION AND ORDER

         Plaintiff Samuel Wilson, a business owner, filed this action under 42 U.S.C. § 1983 against

Defendant Kevin Smith, a retired investigator for the Office of the Illinois State Fire Marshal,

alleging violations of Plaintiff’s Fourth and Fifth Amendment rights. Specifically, Plaintiff

contends that Defendant fabricated evidence in connection with an arson investigation at Plaintiff’s

bar. Plaintiff was subsequently arrested and ultimately acquitted of all charges after a bench trial.

Defendant has now moved for summary judgment (Dkt. 17) on both of Plaintiff’s claims. For the

reasons discussed below, Defendant’s motion for summary judgment is granted.

                                              BACKGROUND

  I.     Plaintiff’s Acquisition of the Bar and Prior Instances of Vandalism

         In February 2014, Plaintiff purchased Levels Sports Bar (“Levels”), located at 2408 Sauk

Trail, Sauk Village, Illinois, 60411, from Thomas Gorski. (Dkt. 39 at ¶¶ 4, 6). 1 Plaintiff purchased

the contents and fixtures inside the bar, but not the real estate itself, and entered into a five-year




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          The facts are taken from the parties’ respective Local Rule 56.1 statements and are undisputed unless
otherwise noted. The Court refers to Plaintiff’s Response to the Defendant’s Local Rule 56.1 Statement of Facts as
“Dkt. 39” and Defendant’s Responses to Plaintiff’s Statement of Additional Material Facts as “Dkt. 44.”
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commercial lease with Gorski, with an initial monthly rent of $1,500. (Id. at ¶¶ 7-9). From at least

February 2015 through February 2016, Plaintiff had property insurance for Levels. (Id. at ¶ 12).

       Starting in October 2015, Plaintiff says that Levels was subjected to a pattern of nighttime

vandalism, which included windows being busted out, a custom sign being snatched down and

vandalized, and a dumpster being knocked over and trash thrown about the parking lot. (Wilson

Dep. at 119:14-17, 124:3-8, 127:17-24, Dkt. 18-4; Dkt. 44 at ¶ 1). Plaintiff never filed any police

reports or insurance claims regarding those instances of vandalism. (Dkt. 39 at ¶¶ 24, 27). But

Plaintiff claims the vandalism prompted him to monitor the bar after closing in an attempt to catch

the culprits. (Dkt. 44 at ¶ 1). According to Plaintiff, he first conducted nighttime surveillance of

the bar on October 23, 2015, which was unsuccessful. (Id. at ¶ 2).

 II.   October 24, 2015 Surveillance by Plaintiff and Fire at Levels

       The next day, October 24, 2015, Plaintiff claims that he again conducted surveillance of

the bar during the early morning hours, from a vacant property southwest of the bar, across a

shallow, dry drainage ditch that was approximately three feet wide. (Dkt. 44 at ¶ 2). This property,

which was a home, was located at 2503 221 Street, Sauk Village, IL, 60411. (Dkt. 39 at ¶ 28). The

parties dispute exactly how far the property was from the Levels. (Dkt. 44 at ¶ 3). Plaintiff parked

in the driveway of the home and walked into the backyard, which bordered the drainage ditch and

looked over Levels. (Id. at ¶ 3).

       At some point, Plaintiff says that he observed an individual with a slender build walking

eastbound down Sauk Trail and approaching the west side of Levels, which then prompted Plaintiff

to walk through an open gap in a damaged fence, hop over the drainage ditch, and enter the Levels

parking lot. (Id. at ¶ 4). According to Plaintiff, the person was an African American male with

dreadlocks who had his face covered. (Id. at ¶ 5; Wilson Dep. at 179:18-24, Dkt. 18-4). The man


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was standing by a window and striking a device that produced a flame, which Plaintiff presumed

was a lighter. (Id. at ¶ 5). Plaintiff claims that he was standing about six feet away from the man,

who appeared to have broken a window and started a fire on the windowsill. (Id. at ¶ 6). After

seeing this, Plaintiff states that he rushed the man and grabbed him, but the man pulled away,

punched Plaintiff, and ran east. (Id. at ¶ 7).

III.    Officer Vaughan’s Patrol and Observations

        On October 24, 2015, at 4:17 a.m., Sauk Village Police Officer Andrew Vaughan was on

patrol. (Dkt. 39 at ¶ 13). While driving eastbound on Sauk Trail, he observed a subject walking

southbound through the Levels parking lot. (Id.). According to Officer Vaughan, the subject was

wearing a hood that covered his face, which appeared to be a mask. (Id. at ¶ 14). Officer Vaughan

also testified that he saw the subject for less than five seconds and only saw the individual’s back.

(Id.; Vaughan Dep. at 18:19-19:7). After circling the building and pulling into the parking lot,

which took approximately 15 to 20 seconds, Officer Vaughan saw someone, who turned out to be

Plaintiff, appear from the northwest corner of the building and wave him down. (Vaughan Dep. at

22:7-10; Dkt. 39 at ¶¶ 15-16; Dkt. 44 at ¶ 8). Officer Vaughan testified that the individual he saw

before pulling into the parking lot was the same person he saw after pulling into the parking lot,

and that was Plaintiff. (Dkt. 39 at ¶¶ 16-17).

        After Plaintiff informed Officer Vaughan that a suspect had fled eastbound on foot, Officer

Vaughan ran east in pursuit but did not see anyone else. (Dkt. 39 at ¶¶ 18-19; Dkt. 44 at ¶¶ 8-9).

Officer Vaughan stated the only person he saw while driving eastbound on Sauk Trail, circling the

building, running eastbound, and canvassing the immediate area was Plaintiff. (Dkt. 39 at ¶ 19).

Officer Vaughan observed something lying on the ground which appeared to be a mask. (Id. at

¶ 20). A small fire was burning inside a broken window to the east of a bar door facing Sauk Trail.


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(Id. at ¶¶ 20-21). Plaintiff extinguished the fire by blowing and tapping the flames with his gloved

hand, but Officer Vaughan nevertheless radioed to dispatch the fire department. (Dkt. 39 at ¶¶ 20,

22; Dkt. 44 at ¶ 10). Plaintiff also saw a partially burned plastic bottle on the windowsill, which

he threw to the sidewalk and stamped to extinguish. (Dkt. 44 at ¶ 11). The fire caused damage to

the windowsill and scorched a beer sign. (Id. at ¶ 10). Officer Vaughan testified both that he did

not recall whether he saw a plastic bag and that he did not remember seeing a plastic bag in front

of the broken window. (Id. at ¶ 12; Vaughan Dep. at 38:15-19; 132:23-133:2, Dkt. 18-6).

       Plaintiff explained to Officer Vaughan that his bar had been previously vandalized in

October 2015. (Dkt. 39 at ¶ 23). As a result, he had decided to take “justice in [his] own hands”

and so, on the early morning of October 24, 2015, Plaintiff had been waiting in the backyard of a

vacant home near Levels to try to catch the vandals. (Dkt. 39 at ¶ 23; Dkt. 44 at ¶ 20). Plaintiff

told Officer Vaughan how he saw a subject walking towards the bar who broke a window and

started a fire and Plaintiff approached him and was punched. (Dkt. 39 at ¶ 25). Officer Vaughan

drafted a report of the incident, in which he noted that the Plaintiff showed him a bump on his

head, which Plaintiff contended was from that punch. (Dkt. 44 at ¶ 12). Officer Vaughan eventually

drove Plaintiff to retrieve his vehicle from the vacant property, and both returned to Levels in their

own vehicles. (Dkt. 39 at ¶¶ 28, 30).

       Sometime on the morning of the fire, Officer Vaughan spoke with a neighbor who stated

that he saw an individual of slim build run thought his yard earlier that morning. (Dkt. 44 at ¶ 9).

The neighbor wished to remain anonymous and was generally uncooperative. (Id.; Vaughan Dep.

at 62:10-24, Dkt. 18-6). The parties dispute exactly where and when this conversation took place.

Plaintiff says it occurred across the street from Levels, while Defendant says it occurred across the

street from the vacant home where Plaintiff had parked his car. (Dkt. 44 at ¶ 9). Furthermore,


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Plaintiff states the conversation occurred shortly after Officer Vaughan arrived on scene, while

Defendant says it simply occurred sometime before Officer Vaughan drove Plaintiff to the vacant

property to retrieve his vehicle, which Officer Vaughan estimates to be about an hour after he

arrived on the scene. (Id. at ¶ 9).

IV.     Arrival of Fire Department, Additional Law Enforcement Personnel, and Defendant
        and Subsequent Investigation at the Scene

        Several members of both the Sauk Village and Crete Fire Departments and Officer

Vaughan’s commanding officer arrived at Levels before Defendant. (Dkt. 39 at ¶ 35). Sauk Village

fire personnel arrived at 4:30 a.m. (Dkt. 44 at ¶ 13). Officer Vaughan and two firemen entered

Levels and noted a strong odor of gasoline inside the bar. (Dkt. 39 at ¶ 37).

        Defendant was assigned by the Office of the State Fire Marshal to investigate the arson.

(Id. at ¶ 34). While some witnesses testified that Defendant arrived on scene around 5:15-5:30

a.m., Defendant testified that he arrived at 6:00 a.m. (Dkt. 44 at ¶ 13). Special Agent John Gamboa

from the Bureau of Alcohol, Tobacco, and Firearms (“ATF”) arrived after Defendant. (Dkt. 39 at

¶ 38). The parties dispute what Defendant did when he first arrived on the scene. Defendant states

that the first thing he did upon arrival was to have Plaintiff sign a consent form giving him and SA

Gamboa permission to enter Levels. (Dkt. 39 at ¶ 39; Dkt. 44 at ¶ 16). Plaintiff, however, contends

that after Defendant arrived, he approached Plaintiff’s vehicle (in which Plaintiff was sitting),

peered in and appeared to recognize Plaintiff, inspected the scene, and then asked Plaintiff to sign

a consent form. (Dkt. 39 at ¶ 39; Dkt. 44 at ¶ 16). Plaintiff also says that Defendant entered the bar

prior to the consent form being signed; Defendant insists he received Plaintiff’s consent before

entering Levels. (Dkt. 39 at ¶ 40; Dkt. 44 at ¶ 16).

        The parties do not dispute, however, that when he signed the consent form, Plaintiff

explained to Defendant that he had staked out the bar to catch vandals, he saw someone light

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something and put it in the broken window, he confronted the person, and the person struck him

and fled. (Dkt. 44 at ¶ 17). Further, the parties do not dispute that before entering Levels, Defendant

canvassed the outside of the building, took photographs, and collected evidence, including a plastic

bottle, plastic Menards bag, paper towel roll, lighter, and hammer. (Dkt. 39 at ¶¶ 42-43).

Defendant’s incident report specifically notes, among other things, that a “White plastic Menards

bag with 1/3 of a roll of white paper toweling” was processed as evidence. (Office of the Illinois

State Fire Marshal Incident Report at 15, Dkt. 18-44). Plaintiff contends that the plastic Menards

bag and paper towel roll were removed from the bar and placed under the broken window by

Defendant, while Defendant says these items were simply found under the broken window. (Dkt.

39 at ¶ 43; Dkt. 44 at ¶ 22). There is no debate that the plastic bottle was found under the broken

window, the lighter was found in the southwest area of the parking lot, and the hammer was found

behind the bar inside the building. (Dkt. 39 at ¶ 43). A laboratory report, dated December 11, 2015,

indicated that Plaintiff’s DNA was found on the paper towel roll, which Plaintiff asserts may be

because he handled the paper towels while cleaning the bar. (Illinois State Police Laboratory

Report, Dkt. 18-33; Dkt. 39 at ¶ 44; Dkt. 44 at ¶ 22).

        Neither Plaintiff nor any other witness observed Defendant remove either a paper towel

roll or plastic Menards bag from inside of the bar and/or place them beneath the broken window

where the fire had been burning. (Dkt. 39 at ¶ 45). In a photograph of Plaintiff signing a document

while sitting in his vehicle, a plastic bag is visible outside of the bar. (Dkt. 39 at ¶ 41).

        According to Plaintiff, he fell asleep in his car during the investigation. (Dkt. 44 at ¶ 18).

He was eventually interviewed inside of Levels by Defendant and SA Gamboa, and SA Gamboa

drafted a report memorializing this interview. (Dkt. 39 at ¶¶ 46-47; Dkt. 44 at ¶ 19). Plaintiff

provided the following hand-written statement to investigators:


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       After several week of vandalism, with no justice, I decided to take justice in my
       own hands. Not the smartest decision, but it was what I decided to do. After closing
       hours, I stayed in location where I could easily see anyone approaching location.
       When I saw someone I approached them in an aggressive manner. He was lighting
       fire towards window. I grabbed him and in effort to slam him, but he pushed off
       and punched me on my head. I stumbled backwards and waved down officer and
       we both gave chase. Came back to site of fire and patted fire source with hands and
       feet.

(Dkt. 44 at ¶ 20).

 V.    Observations of Additional Personnel on Scene

       Some fire department personnel took notes about the arson. (Dkt. 44 at ¶ 14). For example,

firefighter Dan Smits did not mention a plastic bag with a paper towel in his notes. (Id.). Smits

testified that while he would have preferred to make a note of a plastic bag with paper towels if he

saw it and generally would have noted that, he could not say that a plastic bag with paper towels

was not at the scene. (Smits Dep. at 19:17-23, Dkt. 18-9). Another firefighter, Zackary Newton,

did not make note of a plastic bag with a paper towel either. (Dkt. 44 at ¶ 14). Newton testified

that if he had seen a plastic bag and he felt that plastic bag was pertinent to his investigation when

he arrived on scene, he would have noted it. (Newton Dep. 15:19-24; Dkt. 18-11). He did not

remember there being a plastic bag. (Id. at 16:4-6). A third fireman, Edward Myers, did not make

note of a plastic bag at the scene. (Dkt. 44 at ¶ 14). Myers testified that it was possible that there

could have been periods of time when nobody was monitoring what was occurring outside of the

bar’s front door. (Id. at ¶ 15). Finally, fireman Doug Luther noted that he observed a plastic bag

on the ground outside of Levels. (Dkt. 39 at ¶ 36; Dkt. 44 at ¶ 14).

VI.    Defendant Smith’s Investigation of the Arson After October 24, 2015

       During his investigation, Defendant learned from Gorski that Plaintiff had fallen roughly

$9,000 behind in rent payments as of October 2015. (Dkt. 39 at ¶¶ 10, 51). While Plaintiff admits

that he was behind in rent, he contends that he made certain repairs and improvements to the real

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estate and while he and Gorski disagreed over the value of these improvements, Plaintiff believed

they covered his outstanding rent. (Id.). Defendant also learned that Gorski had already sent

Plaintiff an email advising him that if he did not pay his past due rent in full, Gorski would begin

the eviction process. (Dkt. 39 at ¶ 51).

        ATF Agent Anthony Zito was assigned to the case in July 2016. (Dkt. 44 at ¶ 24; Zito Dep.

at 14:24-15:4). On July 20, 2016, SA Gamboa emailed a report to Agent Zito that summarized his

interview with Plaintiff. (Dkt. 44 at ¶ 25). SA Gamboa then retired in December 2016. (Gamboa

Dep. at 71:21-72:2). On February 7, 2017, Agent Zito forwarded SA Gamboa’s report to

Defendant, who returned an edited version of the report which added, among other things, the

following paragraph:

        Mr. Wilson stated that he observed the offender carrying a white plastic bag in his
        hand as he approached the front of the business. Mr. Wilson denied handling the
        white plastic bag or its contents inside the bag [sic], including the melted remains
        of a plastic bottle found lying on the ground beneath the broken window. Mr.
        Wilson reiterated again that the person responsible for starting the fire brought the
        plastic bag with him and that he did not touch, move, or come into contact with the
        plastic bag, the bottle, or its contents.

(Dkt. 44 at ¶¶ 28-29). By that time, SA Gamboa had already retired and thus did not review

Defendant’s edits to the report. (Id. at ¶ 28). SA Gamboa’s original report did not mention that the

offender carried a plastic bag to the scene, nor did it mention that Plaintiff denied touching a plastic

bag. (Id. at ¶ 30).

        Also in July 2016, Defendant and Agent Zito interviewed Levels employees during their

investigation. (Dkt. 39 at ¶¶ 48-50). One employee reported that Levels was poorly run, the alcohol

was rarely restocked in a timely manner, employees were not paid in a timely fashion, she had

never seen an alcohol distributor at the bar, and that Plaintiff was not responsible. (Id. at ¶ 49).

Another employee similarly reported that the bar would regularly run out of alcohol, she was


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sometimes paid late, there were times when there was insufficient change in the cash register to

make change for customers, Levels had inconsistent hours of operation, she believed the bar was

failing due to poor management, and she once overheard Plaintiff tell a patron that he was tired of

owning the bar. (Id. at ¶ 50).

       Defendant and Agent Zito identified the individuals who had vandalized the bar on prior

occasions. (Dkt. 39 at ¶ 52; Dkt. 44 at ¶ 34). They referred these individuals to the Sauk Village

Police Department but state that they did not suspect them of the arson, which Plaintiff disputes.

(Dkt. 39 at ¶ 52).

       Defendant also contends that on at least five different occasions between May 2014 and

June 2015, Plaintiff or one of his employees purchased liquor for Levels from either a local retail

establishment or from a retail establishment in Indiana, in violation of state law. (Dkt. 39 at ¶ 11).

Plaintiff admits to only one instance of liquor being purchased in Indiana for use at Levels. (Id.).

Additionally, Defendant learned that Plaintiff had filed an insurance claim after the fire, but

following his interview with an insurance adjuster, Plaintiff stopped responding to the insurance

adjuster. (Id. at ¶ 57). As a result, the insurance company denied any potential property loss claim

for failure to comply with the insurance company’s investigation. (Id.).

VII.   History Between Plaintiff and Defendant

       Defendant’s arrival on the scene on October 24, 2015 was not the first time Plaintiff and

Defendant had met. Some ten years earlier, in late 2005 or early 2006, at the Country Club Hills

Fire Station where Plaintiff then worked, Defendant made a comment which Plaintiff interpreted

as racially charged and directed at him. (Dkt. 39 at ¶¶ 69-70). Plaintiff advised the chief of the Fire

Department of Defendant’s comment, who in turn told Defendant that Plaintiff took offense to the

statement. (Id. at ¶¶ 71-72). While Plaintiff asserts that the fire chief told him Defendant was


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 banned from the fire station as a result of his comment (and that Defendant and all leadership were

 notified of this ban), the chief has no recollection of ever banning anyone from the fire station. (Id.

 at ¶ 75). Plaintiff did not submit a formal written grievance to the Fire Department, the Office of

 the State Fire Marshal, or any other entity regarding the incident. (Id. at ¶ 74). The only interaction

 between Plaintiff and Defendant since that incident was a short conversation that occurred

 approximately one week later. (Id. at ¶ 73).

VIII.    Plaintiff Charged with Arson

         Prior to charging the Plaintiff with arson, Defendant and Agent Zito met with the Cook

 County Assistant State’s Attorney (ASA), where Defendant and Agent Zito presented their

 evidence with Plaintiff in mind as a person of interest. (Dkt. 44 at ¶ 36). On January 17, 2017, the

 ASA sent out an email to his colleagues, explaining that he was approving charges against the

 Plaintiff. (Id. at ¶ 37). Specifically, the ASA stated: “A plastic bag containing a roll of paper towels,

 a hammer, and a cigarette lighter were found outside and under the window of the bar. [Plaintiff]

 denied knowledge of the bag or its contents and denied ever touching it, but his DNA was matched

 to a profile found on the roll of paper towels.” (ASA Email, Dkt. 38-4).

         On January 18, 2017, Plaintiff was arrested for arson. (Dkt. 39 at ¶ 58). He was held

 overnight in jail before appearing at his bond hearing the following day. (Id.). He was released on

 bond, the conditions of which included meeting monthly with a probation officer at the courthouse

 and asking for permission before traveling outside of Illinois. (Id. at ¶¶ 58, 61-62). Following a

 bench trial, Plaintiff was acquitted, with the court simply stating that the State had failed to meet

 its burden of proof beyond a reasonable doubt. (Id. at ¶¶ 65, 68).

         Plaintiff originally filed this lawsuit on March 18, 2022, which proceeded before District

 Judge Kennelly and was voluntarily dismissed without prejudice by the Plaintiff. Wilson v. Village


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of Sauk Village et al., Case No. 1:20-cv-01861. In August 2022, Plaintiff filed the present action.

(Compl., Dkt. 1).

                                      LEGAL STANDARD

       A court may grant summary judgment when “there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A dispute is

“genuine” if “the evidence is such that a reasonable jury could return a verdict for the nonmoving

party” and “material” if it “might affect the outcome of the suit under the governing law.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The movant bears the initial burden of

demonstrating the absence of a genuine dispute of material fact. Celotex Corp. v. Catrett, 477 U.S.

317, 323 (1986). The burden then shifts to the non-moving party to demonstrate “specific facts

showing that there is a genuine issue for trial,” id. at 324, and support their position with “more

than a scintilla of evidence.” Conley v. Vill. of Bedford Park, 215 F.3d 703, 709 (7th Cir. 2000).

Summary judgment is proper “against a party who fails to make a showing sufficient to establish

the existence of an element essential to that party’s case, and on which that party will bear the

burden of proof at trial.” Celotex, 477 U.S. at 322. All “justifiable” inferences are drawn in favor

of the non-moving party. Anderson, 477 U.S. at 255; see also Runkel v. City of Springfield, 51

F.4th 736, 741 (7th Cir. 2022) (non-moving party receives “benefit of conflicting evidence” as

well as “any favorable inferences that might be reasonably drawn from the evidence.”).

Additionally, a court must refrain from weighing evidence or making credibility determinations.

Johnson v. Advocate Health & Hosps., Corp., 892 F.3d 887, 893 (7th Cir. 2018) (citation omitted).




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Finally, “speculation may not be used to manufacture a genuine issue of fact” to defeat summary

judgment. Amadio v. Ford Motor Co., 238 F.3d 919, 927 (7th Cir. 2001).

                                           DISCUSSION

        Defendant contends that summary judgment is appropriate for three reasons: (1) Plaintiff’s

claims are legally insufficient; (2) even if legally sufficient, there is no evidence that Defendant

fabricated evidence; and (3) there was probable cause to arrest Plaintiff for arson even without the

allegedly fabricated evidence. (Pl. Mem. in Supp. at 6-7, Dkt. 19). Having reviewed the parties’

arguments and the relevant case law, the Court finds the Fourth Amendment claim is legally

sufficient but fails because there was probable cause to arrest Plaintiff and no evidence that

Defendant fabricated any material evidence. However, Plaintiff’s Fifth Amendment claim is

legally insufficient as a matter of law.

      I.   Legal Sufficiency of Claims

               a. Fourth Amendment

        Plaintiff brings a section 1983 claim for malicious prosecution under the Fourth

Amendment. (Compl. at ¶ 44, Dkt. 1), which the Supreme Court has held is legally cognizable.

Thompson v. Clark, 596 U.S. 36, 42 (2022). “To succeed on [a Fourth Amendment malicious

prosecution claim under 42 U.S.C. § 1983], a plaintiff must show that a government official

charged him without probable cause, leading to an unreasonable seizure of his person.” Chiaverini

v. City of Napoleon, Ohio, 144 S.Ct. 1745, 1748 (2024). A seizure must have occurred for a

malicious prosecution claim to proceed. Id. at 1751.

        Defendant argues that Plaintiff was not seized because he was only briefly detained—he

spent only one night in jail after he was arrested and was released the following day after his bond

hearing—and his bond conditions were standard. (Def. Mem. in Supp. at 7-10). Plaintiff contends,

however, that his initial arrest and detention constitute a seizure. (Pl. Resp. at 8-9). Furthermore,
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he does not suggest that his bond conditions constituted a seizure. (Pl. Resp. at 10) (“[T]he

Defendant’s reliance on several district court cases . . . that have ruled standard bond conditions

such as the one at bar do not constitute a seizure are of no relevance because . . . the Plaintiff bases

his seizure argument on his initial detention of false charges that were approved against him, and

his continued detention for several hours even after being given an I-bond.”).

       Plaintiff has established that he was seized when arrested and detained overnight. A seizure

occurs “‘when [an] officer, by means of physical force or show of authority, has in some way

restrained the liberty of a citizen.’” Artman v. Gualandri, No. 20 C 4501, 2021 WL 2254961, at

*4 (N.D. Ill. June 3, 2021) (quoting Terry v. Ohio, 392 U.S. 1, 19 n.16 (1968)). It is well established

that an arrest is a seizure for Fourth Amendment purposes. Torres v. Madrid, 592 U.S. 306, 312

(2021); Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011). Therefore, Plaintiff’s Fourth Amendment

claim is viable.

               b. Fifth Amendment

       A plaintiff may bring a claim of evidence fabrication as a due process violation under

section 1983, but “[n]ot every act of evidence fabrication offends one’s due process rights[.]”

Saunders-El v. Rohde, 778 F.3d 556, 560 (7th Cir. 2015). For instance, the Seventh Circuit has

held that “due process is not implicated where . . . the defendant is released on bond following his

arrest and acquitted at trial.” Id. at 558. Defendant contends that Plaintiff’s Fifth Amendment claim

is legally insufficient because his acquittal on the arson charge forecloses any due process claim

for evidence fabrication. (Def. Mem. in Supp. at 7). Plaintiff acknowledges that “Seventh Circuit

precedence [sic] has long held that there can be no due process violation for fabricating evidence

where there has been no conviction[.]” (Pl. Resp. at 11). Nevertheless, Plaintiff contends that

“there is a basis to conclude that the Seventh Circuit would revisit its prior decision” on this point


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in light of the Supreme Court’s ruling in McDonough v. Smith, 139 S.Ct. 2149 (2019), and thus

asks this Court to allow his Fifth Amendment claim to proceed. (Pl. Resp. at 12).

        Defendant has the better argument. Plaintiff’s acquittal bars a Fifth Amendment due

process claim. The Supreme Court in McDonough made clear that it was reviewing the statute of

limitations question that had been presented to the court. See McDonough, 139 S.Ct. at 2155 (“We

assume without deciding that the Second Circuit’s articulations of the right at issue [a fabricated

evidence claim arising under the Due Process clause] and its contours are sound, having not

granted certiorari to resolve those separate questions.”). As such, McDonough stands solely for the

proposition the limitations period for a section 1983 claim alleging prosecution based on fabricated

evidence begins to run when criminal proceedings are terminated in defendant’s favor. Id. at 2161.

As such, this Court declines Plaintiff’s invitation to presume that the Seventh Circuit would alter

its current precedent holding that such a Fifth Amendment claim is not viable based solely on

inferences drawn from the Supreme Court’s decision. Defendant’s Fifth Amendment due process

claim is thus foreclosed.

     II.   Probable Cause

        Finding that Plaintiff may proceed with his malicious prosecution claim under the Fourth

Amendment, the Court must now determine whether there was probable cause to support his

seizure. Probable cause is an absolute defense to a section 1983 action for both unlawful pretrial

detention and malicious prosecution. Mustafa v. City of Chi., 442 F.3d 544, 547 (7th Cir. 2006);

Norris v. Serrato, 761 Fed. Appx. 612, 615 (7th Cir. 2019). “This is so even where the defendant

officers allegedly acted upon a malicious motive[.]” Mustafa, 442 F.3d at 547. “In dealing with

probable cause, . . . as the very name implies, we deal with probabilities. These are not technical;

they are the factual and practical considerations of everyday life on which reasonable and prudent


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men, not legal technicians, act.” Illinois v. Gates, 462 U.S. 213, 231 (1983) (citing Brinegar v.

United States, 338 U.S. 160, 175 (1949)) (quotations omitted).

       Probable cause requires only a reasonable belief by an officer that the arrestee had

committed a crime; the Seventh Circuit has explained that this is more than a “hunch,” but less

than a finding that, more likely than not, the arrestee committed a crime. Abbott v. Sangamon

Cnty., Ill., 705 F.3d 706, 714 (7th Cir. 2013). The Supreme Court has further described probable

cause as a “fluid concept—turning on the assessment of probabilities in particular factual

contexts[.]” Gates, 462 U.S. at 232. Probable cause “depends on the totality of the circumstances.”

Maryland v. Pringle, 540 U.S. 366, 371 (2003). “The principal component[] of a determination of

. . . probable cause will be the events which occurred leading up to the . . . search, and then the

decision whether these historical facts, viewed from the standpoint of an objectively reasonable

police officer, amounted to . . . probable cause.” Ornelas v. U.S., 517 U.S. 690, 696 (1996).

Notably, “[d]etermining whether an officer had probable cause to arrest entails a purely objective

inquiry; the officer’s subjective state of mind and beliefs are irrelevant.” Abbott, 705 F.3d at 714.

Based on his experience, an officer may draw inferences in determining whether probable cause

exists. Ornelas, 517 U.S. at 700.

       Putting to the side the alleged fabricated evidence—the planted paper towel roll and false

edits to SA Gamboa’s report—Defendant points to the following undisputed facts and argues that

they established probable cause to arrest Plaintiff for arson: (1) Officer Vaughan observed Plaintiff

alone in the Levels parking lot at 4:17 a.m. wearing a hood with his car parked in a secondary

location; (2) Plaintiff was approximately $9,000 behind in rent payments and had already been

threatened with eviction proceedings; (3) the bar was poorly managed, occasionally struggling to

timely pay its employees or keep adequate change in the cash register; (4) Plaintiff had violated


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state liquor laws; and (5) Plaintiff stopped cooperating with the insurance company on his claim.

(Def. Mem. of Law in Supp. at 17, 19-20). The Court agrees that a reasonable officer, viewing

these facts objectively, would have probable cause to arrest Plaintiff. In addition, the Court finds

that Plaintiff has failed to establish a triable fact issue on the question of whether Defendant

fabricated evidence.

   A.      The Scene of the Crime and Lack of Suspects

        The Court begins with the initial observations of Officer Vaughan. The parties do not

dispute that Plaintiff was the only individual Officer Vaughan saw at the scene of the crime, and

that he did not see anyone else when, at Plaintiff’s instruction, he ran east in pursuit of the alleged

suspect and canvassed the area immediately surrounding the bar. Only Plaintiff was there wearing

a hood and his car was parked in a secondary location away from the bar. Despite Plaintiff’s

explanation for his presence at 4:17 a.m. and his car being parked elsewhere, the mere fact that

Plaintiff was outside, alone, in the middle of the night, at the scene of a fire at an establishment he

rented, would raise a reasonable officer’s suspicions.

        Plaintiff contends that the true arsonist who punched him and fled the scene was an African

American man of slender build with dreadlocks and a face covering. Thus, he urges the Court to

rely upon Officer Vaughan’s interview with the neighbor, who reported that an individual of

slender build ran through his yard on the morning of the fire. Contrary to Plaintiff’s arguments,

though, this information does not corroborate his story. True, the neighbor said the individual had

a slender build, but that one detail, standing alone, does not lead to the conclusion that Plaintiff

and the neighbor, in fact, were talking about the same person. Significantly, the parties dispute

exactly where Officer Vaughan’s interview occurred and when the neighbor saw the individual

run through his yard. But the record clearly reflects the interview did not occur across the street


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from Levels as Plaintiff contends, but in a neighborhood behind Levels, across the street from the

vacant house where Plaintiff had parked. More importantly, the neighbor said the subject ran

through the yard sometime before Plaintiff retrieved his car from the vacant home (an hour after

the fire), with no further details as to time. According to Plaintiff, this person of interest ran east,

while the neighbor’s yard was southwest of Levels. As such, the neighbor’s statement do not create

a triable fact dispute.

    B.      Evidence Collected at the Scene

         Plaintiff next points to several disputed facts regarding the evidence at the scene, including

when Defendant had Plaintiff sign a consent form, if Defendant entered Levels before obtaining

consent, and whether Defendant planted the plastic bag with paper towels in it outside of Levels

after he arrived. None of these, however, are genuine material facts that must be decided by a jury.

First, it is undisputed that fire personnel were on the scene around 4:30 a.m., well before

Defendant, and one of the firemen, Luther, observed a plastic bag outside of the bar when he

arrived. Plaintiff offers nothing to suggest that Luther lied about this observation.

         The parties disagree about what Defendant first did when he arrived on the scene, namely

whether he had Plaintiff sign a consent form for him to enter the bar immediately or whether he

recognized Plaintiff, canvassed the surrounding area, entered the bar, and then had Plaintiff sign

the consent form. A picture of Plaintiff signing a document (which Defendant contends is the

consent form) around 6:00 a.m. shows a bag on the ground in front of Levels, which is consistent

with Luther’s report of what he noticed before Defendant arrived. Plaintiff’s attempt to submit a

contradictory affidavit in opposition to summary judgment (Aff. of Samuel Wilson, Dkt. 38-1),

challenging Defendant’s actions upon arrival on the scene easily runs afoul of the “sham affidavit”




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rule and therefore cannot be used to defeat summary judgment. James v. Hale, 959 F.3d 307, 316

(7th Cir. 2020).

         Plaintiff finally contends that Defendant fabricated evidence and planted it outside of the

broken window where the fire occurred because Defendant otherwise lacked probable cause to

arrest Plaintiff. But the record does not support Plaintiff’s theory. It is undisputed that no witness,

including Plaintiff himself, observed Defendant remove the plastic bag with paper towels and place

it outside of the bar. Plaintiff argues that this is to be expected, as the nature of evidence fabrication

is inherently secretive, and no smoking gun is required. But Plaintiff needs more than speculation

to survive summary judgment. Misconduct is often conducted in secret; this does not permit a

plaintiff to rely on speculation alone that it has occurred, though.

         As Defendant points out, Plaintiff does not state when or how he thinks this could have

occurred. Plaintiff notes Myers’ testimony that there may have been times when the bar door was

not guarded, but that too is speculative. Plaintiff also claims that he did not see Defendant plant

the evidence because he fell asleep during the investigation, but he conveniently ignores the

plethora of other witnesses who also did not see Defendant plant any evidence. Simply put, all

Plaintiff has to support his theory that Defendant must have planted the plastic bag and paper towel

rolls containing his DNA outside the bar is his own self-serving statements, which he tries to

improperly characterize as “circumstantial evidence.” While circumstantial evidence could create

a genuine issue of material fact, Plaintiff’s speculation cannot.

    C.      Possible Motives

         Plaintiff argues that, because he rented the property rather than owned it, he lacked any

financial motive to commit the arson. But Defendant had ample evidence that Plaintiff may have

stood to gain financially from a fire at Levels. While Plaintiff rented the real estate, he owned the


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content and fixtures inside of the bar. During his investigation, Defendant received documents

related to the property insurance policy in place at the time of the fire. (See generally Dkt. 18-26).

Those documents indicated that the policy covered personal property. (First Report of L.J. Shaw

& Co. at 2, Dk. 18-26). In fact, Plaintiff filed a claim with the insurance company that his insurer

tried to investigate. But after contacting Plaintiff on five separate occasions after his initial

interview with the insurance adjuster and receiving no response, the insurance company denied

the claim.

       A reasonable officer armed with this information would have believed that Plaintiff was

financially motivated to commit the crime and recover from the insurance company. Defendant’s

investigation revealed that at the time of the fire, Plaintiff was approximately $9,000 behind in rent

payments and had already been threatened with eviction. Regardless of whether Plaintiff believed

the landlord was wrong, an officer could reasonably assume that Levels was in financial straits.

Employees reported that the alcohol, at a bar, was rarely restocked in a timely manner and they

were not paid in a timely fashion. One employee also told Defendant that on occasion, there was

insufficient change in the cash register to make change for customers and that she once overheard

the Plaintiff tell a patron that he was tired of owning the bar. Finally, Plaintiff appeared to be

making ad hoc alcohol purchases for the bar. One employee relayed that she never saw an alcohol

distributor at Levels. Plaintiff admits that on at least one occasion he purchased liquor from a retail

establishment in Indiana to sell at the bar, in violation of state liquor laws. Considering the totality

of the circumstances, an objectively reasonable police officer could have determined that Plaintiff

had both motive and opportunity to commit the arson.

       Relatedly, Plaintiff points to the three individuals Defendant identified as the prior vandals

as suspects for the arson, arguing that those individuals had a greater motive than he did (namely,


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revenge and anger) and they lend credence to Plaintiff’s explanation as to why he was outside at

the bar in the middle of the night. But a reasonable officer may just as easily conclude that the

prior vandals provided a scapegoat on which Plaintiff was attempting to pin an arson from which

he stood to gain financially. And Plaintiff points to no evidence to dispute Defendant’s conclusion

that these individuals were not suspected of committing the arson.

         While Plaintiff denies that he had any motive to set Levels ablaze, he contends that

Defendant had a motive to frame him for the crime. Plaintiff points to he and Defendant’s

interaction in late 2005 or early 2006, ten years earlier, which Plaintiff contends resulted in

Defendant being banned from the Country Club Hills Fire Department, as evidence of Defendant’s

illegal motive. While the parties’ dispute about Defendant’s motive may be genuine, it is not

material. A probable cause analysis is purely objective; “the officer’s subjective state of mind and

beliefs are irrelevant.” Abbott, 705 F.3d at 714. Therefore, any contention by Plaintiff that the

Defendant had a motive to frame him has no bearing on the probable cause analysis.

    D.       Decision to Charge Plaintiff and Edits to SA Gamboa’s Report

         Plaintiff emphasizes the fact that the presence of his DNA on the paper towel roll was

central to the ASA’s charging decision and points to the email the ASA sent to his staff on January

17, 2017, the day before Plaintiff was arrested, as proof. The laboratory report indicating that

Plaintiff’s DNA was found on the paper towel roll was dated December 11, 2015, which predated

the conclusion of Defendant’s investigation. 2 Nevertheless, the ASA’s decision to charge the

Plaintiff is not critical to the question of whether a reasonable officer would have probable cause

to arrest him. Probable cause deals only with whether there is a reasonable belief that a suspect has



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          While it is unclear exactly when Defendant’s investigation concluded or why Plaintiff was not arrested and
charged until January 2017, the record reflects that Defendant was still investigating the incident in July 2016, as that
is when he and ATF Agent Zito conducted interviews of Levels employees.
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committed a crime, while a charging decision may rest on whether the prosecutor believes that

they can prove their case beyond a reasonable doubt. An objective officer would have reasonably

believed that Plaintiff committed the arson, and this conclusion stands regardless of what the ASA

considering in making his charging determination.

       Finally, the Plaintiff makes much of the fact that Defendant edited SA Gamboa’s report to

include that Plaintiff observed the offender carrying a plastic bag as he approached the bar and that

Plaintiff denied handling the bag or its contents. But these edits, whether accurate or not, are simply

immaterial to the analysis. There is no dispute that Defendant edited the report on February 7,

2017, weeks after the decision to charge Plaintiff and Plaintiff’s subsequent arrest had been made.

Even assuming, for the sake of argument alone, that Defendant’s edits were fabricated, the timing

renders it impossible that they played any role in the determination of whether there was probable

cause to arrest Plaintiff. Therefore, any dispute about Defendant’s edits to SA Gamboa’s report,

or their significance in the probable cause analysis, are not material factual disputes.

       In sum, a reasonable officer, considering the totality of the circumstances and viewing the

evidence objectively, had probable cause to arrest Plaintiff for arson, and no reasonable jury could

find otherwise, let alone conclude that Defendant fabricated evidence. Because probable cause

exists, his Fourth Amendment challenge fails.




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                                       CONCLUSION

       For all the foregoing reasons, Defendant’s motion for summary judgment is granted.

Judgment is entered in favor of Defendant.



 DATED: November 12, 2024                    ENTERED:




                                             LASHONDA A. HUNT
                                             United States District Judge




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